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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Cause No. 1:21-CR-697 (JEB)
                                             )
PAUL WESTOVER,                               )
                                             )
       Defendant.                            )



        DEFENDANT PAUL WESTOVER’S SENTENCING MEMORANDUM

       Defendant Paul Westover, by and through his attorney, John T Davis, of the law firm of

KesslerWilliams, LLC, hereby submits this Sentencing Memorandum in anticipation of his

sentencing hearing scheduled for Monday, April 11, 2022, at 10:00 a.m. EST.

                                         INTRODUCTION

       On December 6, 2021, Mr. Westover pleaded guilty of one count of Title 40, U.S.C, §

5104(e )(2)(G): Parading, Demonstrating, or Picketing in the United States Capitol Building.

       As a prologue to Mr. Westover’s sentencing memorandum, Mr. Westover and

undersigned counsel would like to make it abundantly clear that Mr. Westover sincerely

recognizes the seriousness of the events involving thousands of individuals unlawfully entering,

remaining, damaging, vandalizing, and causing serious, sometimes fatal, physical harm to others.

Nothing in this memorandum is designed or intended to minimize Mr. Westover’s actions or his

acceptance of responsibility. Although for different reasons, Mr. Westover recognizes the fact

that the collective American memory will hold the date January 6th as familiar as December 7th

and 9/11. Arguments proffered herein are in response to the government’s sentencing


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memorandum that does not accurately reflect the actions of Mr. Westover. Without any attempt

to minimize the severity of January 6, 2021, or Mr. Westover’s involvement that day, it is

necessary to provide this Court with an accurate recitation of Mr. Westover’s role. Especially,

Mr. Westover’s role in comparison to those of Emily Hernandez and William Merry who

accompanied Mr. Westover and were charged separately.

       Additionally, this memorandum will also distinguish the United States v Erik Rau 1:21-

cr-00467 JEB and United States v Derek Jancart 1:21-cr-00697 JEB cases cited by the

government as guidance for this Court.

       For the reasons stated below, Mr. Westover respectfully requests a sentence based on

factors under 18 U.S.C. § 3553(a).

                                                I.

                                POINTS AND AUTHORITIES

       THE COURT SHOULD SENTENCE MR. WESTOVER TO A “SENTENCE
            SUFFICIENT, BUT NOT GREATER THAN NECESSARY.”

       Mr. Westover pleaded guilty to a Class B misdemeanor. As such, the offense is punishable

by incarceration of not more than six months and/or a fine of not more than $5,000.00. See Title

18, U.S.C, § 3663(a)(3). Further, as a Class B misdemeanor, the United States Sentencing

Guidelines (USSG) do not apply. Title 18, U.S.C, § 3559 and USSG § 1B1.9.

       Crafting a sentence for a Class B misdemeanor is guided by Title 18, U.S.C, § 3553(a) et

seq. The government correctly points out in its sentencing memorandum that the 3553 (a) factors

include: the nature and circumstances of the offense; the history and characteristics of the

defendant; the need for the sentence to reflect the seriousness of the offense and promote respect

for the law; the need for the sentence to afford adequate deterrence; and the need to avoid




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unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.

        The Supreme Court observed that historically “[i]t has been uniform and constant in the

federal judicial tradition for the sentencing judge to consider every convicted person as an

individual and every case as a unique study in the human failings that sometimes mitigate,

sometimes magnify, the crime and the punishment to ensue.” Gall v. United States, 552 U.S. 38,

52 (2007) citing Koon v. United States, 518 U.S. 81, 113(1996). This Sentencing Memorandum

will address the relevant subsections of 18 U.S.C. § 3553 and articulate why an overall analysis of

the statutory sentencing factors will assist the Court in determining a sentence that is “sufficient,

but not greater than necessary.” An examination of each of these factors as they uniquely relate to

Mr. Westover supports the non-custodial sentence that Mr. Westover respectfully requests.

        1. The Nature and Circumstances of the Offense

        By virtue of Mr. Westover’s plea of guilty, he has taken responsibility for his role in

violating Title 40, U.S.C, § 5104 (e )(2)(G): Parading, Demonstrating, or Picketing in the United

States Capitol Building. More significantly, he has taken responsibility for his individual

involvement in the collective events of January 6, 2021, in our nation’s capital.

        The government’s argument for recommending a 90-day period of incarceration rests

heavily on comparison of Mr. Westover’s actions with those of Emily Hernandez and William

Merry.1 The government also cites the sentences this Court imposed in United States v Erik Rau

and United States v Derek Jancart as guidance for Mr. Westover’s sentence.

        First, Emily Hernandez, William Merry, and Paul Westover, referred to as “the trio” in

the government’s sentencing memorandum, having each entered pleas of guilty to three disparate


1
 Paul Westover was accompanied by Emily Hernandez and William Merry when they traveled from the greater St.
Louis area to attend the President’s speech scheduled for January 6, 2021.

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offenses. It is significant that punishment ranges for offenses committed by Hernandez and

Merry (hereinafter “the pair”) are double that of Mr. Westover’s.

         Mr. Westover entered a guilty plea to a Class B misdemeanor and, as previously stated,

is not subject to a guideline calculation pursuant to the USSG. Conversely, the pair each entered

pleas to different Class A misdemeanors.2 Subject to USSG calculations, Hernandez and Merry

both have a total offense level 4.

         Secondly, the numerous exhibits that the defense anticipates being offered by the

government at sentencing do not evidence Mr. Westover as a member of the trio. In fact, while

adequately supporting the facts underlying Mr. Westover’s guilty plea, they also clearly show

similar acts committed by the pair that Mr. Westover did not directly participate in.

         Tellingly, the government was clearly aware of the differences in actions taken by Ms.

Hernandez, Mr. Merry and Mr. Westover when negotiating plea offers with each defendant. The

government negotiated a plea to a Class B misdemeanor for one defendant and Class A

misdemeanors for the other two. The government now argues that consideration of all three

collectively is proper in determining the appropriate sentence for the lesser charged defendant,

Mr. Westover.

         Moreover, the government’s sentencing memorandum for William Merry, Paul

Westover, and Emily Hernandez recommend 120 days, 90 days, and 45 days incarceration,

respectively.      If these recommendations are indicative of the government’s ranking of

culpability, Mr. Westover strongly disagrees.




2
  Emily Hernandez and William Marry each entered guilty pleas to Class A misdemeanors, Entering and Remaining
in a Restricted Building in violation of Title 18, U.S.C., § 1752(a)(1) and Theft of Government Property in violation
of Title 18, U.S.C., § 641, respectively.

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       Admittedly, Emily Hernandez is a young lady in her early 20’s. But any possible

mitigating factors that allow her to be deemed least culpable ends there. Ms. Hernandez is well

past the age of majority and her gender is irrelevant. More remarkably, her post-plea conduct

has unmistakably demonstrated a vast difference in consideration of 3553 factors from Mr.

Westover.

       Reemphasizing that Mr. Westover does not wish to downplay the seriousness of his

actions, to hold him more, or even equally, culpable is not accurate. As the government’s

exhibits reflect and sentencing memorandum state, the pair not only appropriated shards of

House Speaker Pelosi’s office placard, but also, posed for photographs with smiles while holding

the shard.

       Further, Emily Hernandez retained that and another sign that she stole from the Capitol

grounds. Apparently, Hernandez wished to keep the items as souvenirs of a sort until the FBI

demanded their return.

       Turning to the government’s recommendation that previous sentences imposed by this

Court in United States v Erik Rau and United States v Derek Jancart should be used as a

guidepost in crafting the Westover sentence, Mr. Westover believes those cases are very

distinguishable.

       In Rau and Jancart, the government recommended this Court impose four months’

incarceration along with the $500.00 restitution for each defendant.       In support of these

recommendations, the government noted among other things that Jancart prepared for violence

by bringing a gas mask and two-ways radios to Washington DC; that he was aware of potential

violence because he responded to the Capitol only after hearing it had been “breached”; that he

posted a video to Facebook of Rau screaming “we have you surrounded” at police officers



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attempting to hold the line around the Capitol; he actively spread propaganda on social media

by falsely downplaying the violence on January 6; and his social media statements reveal he

believes a revolution is coming and suggest the possibility of future violence by him. See Gov’t

Sentencing Memorandum, ECF No.25, 1:21-cr-00697 JEB.

       Regarding Rau, the government notes that he prepared for violence by bringing Kelvar-

lined gloves and a medical kit to Washington, D.C; that he was aware of potential violence

because he responded to the Capitol only after Jancart heard it had been “breached”; he scaled a

bicycle rack as a ladder to reach the Capitol; he encouraged and incited violence by shouting

“we have you surrounded” to the police. See Gov’t Sentencing Memorandum, ECF No.13, 1:21-

cr-00467 JEB.

       Again, while not diminishing the seriousness of the offense Mr. Westover has accepted

responsibility for, the actions of Jancart and Rau are far more egregious. While the government

recommended four months’ incarceration in each of these cases, this Court imposed sentences

of 45 days. The government recommends 90 days incarceration for Mr. Westover whose actions,

while serious, are in no way comparable to Jancart and Rau who apparently came prepared for,

and perhaps even worse, hoping for the violent and destructive events that occurred that day.

       2.       Mr. Westover’s Sentence Should Reflect His History and Characteristics

       The Court should factor in Mr. Westover’s history and characteristics when making a

sentence “sufficient, but not greater than necessary.” Title 18, U.S.C, § 3553(a)(1).

                a. Family

       Mr. Westover is a 53-year-old man married to his wife, Christina, since 1993. Mr.

Westover’s family life is an accurate depiction of the man Paul Westover is. Paul and Christina

Westover are the parents of six children. The youngest, 6-year-old Brendan Westover, was a foster



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child of the Westover’s beginning when he was just 8-weeks old. The Westover’s subsequently

adopted Brendan as their own. The Westover’s are a very tight-knit family and are active members

in their Christian faith.

        Mr. Westover has served the greater St. Louis community, has assisted in the building of

ministries, and has formerly served as a Scout leader.

                  b. Physical Condition

        Mr. Westover rates his own health as “fair.” However, he suffers from type 2 diabetes and

hypertension for which he is regularly prescribed four (4) different daily medications. Mr.

Westover also has a stent placed in his heart. This procedure was necessary following a minor

heart attack in 2015.

                  c. Criminal History

        Pursuant to USSG § 1B1.9, the USSG do not apply to this offense, a Class B

misdemeanor. Regardless, Mr. Westover has virtually no criminal history more serious than a

traffic ticket.

                  d. Self-employed

        Mr. Westover is the proud owner and sole employee of Search Ingenuity, LLC, located in

St. Peters, MO.      Search Ingenuity is a technical recruiter for information technology and

engineering clients. Mr. Westover is the sole breadwinner for his 8-person immediate family. Any

period of absence will be an extreme financial hardship and potentially the end of his business.

Consequences of such a failure will create a financial hardship for years to come.

                  e. Remorse

        The government’s sentencing memorandum grossly misrepresents Mr. Westover’s post-




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January 6th sentiment about the events of that day and days that followed. Mr. Westover’s actions

have caused drastic repercussions not only for him, but for his entire family to whom he is wholly

committed.

       Mr. Westover wishes to address this Court during allocution and will personally explain

his actions that the government mistakenly interprets as remorselessness. The government makes

broad assumptions as to the meaning behind some of Mr. Westover’s words and actions. These

assumptions are supported by additional assumptions. Mr. Westover also objects to certain

statements, chants, and comments being attributed to him. Mr. Westover’s allocution will explain

the true intent behind his post-January 6th words and actions. They are not as the government

portrays them.


       3.        The Court must determine a sentence that is sufficient to promote the
                 purposes of sentencing.

                 a.    Mr. Westover’s sentence should reflect the seriousness of the offense,
                       promote respect for the law, and provide just punishment for the
                       offense.

       Mr. Westover truly recognizes the seriousness of the offense for which he has accepted

responsibility. He now faces the reality of perhaps, at best, delaying his continued success in

business and family. At worst, the fear of losing it.

       A non-custodial sentence with a significant amount of community service, home

confinement or combinations of such conditions would be sufficient, and still reflect the

seriousness of the offense, promote respect for the law, and provide just punishment for the

offense. When reviewing the totality of the circumstances, Mr. Westover’s sentence will deliver

a harsh blow to all the successes he has accomplished for himself and his family’s life and

wellbeing.



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               b.      Mr. Westover’s sentence should afford adequate deterrence to
                       criminal conduct.

       Mr. Westover owns up to the fact his spur-of-the-moment decisions have put him in a

critical situation unlike anything he has ever experienced. He recognizes his mistakes and

understands his faults - exacerbated by the global stage on which the fallout of January 6, 2021,

plays out. While January 6th will be indelibly imprinted in American history, Mr. Westover is

more than ready put this matter behind him and return to the community-minded, self-employed,

loving husband, and devoted family man he has always been.

       Perhaps the most significant deterrent for Mr. Westover is the stress his actions caused to

those around him. Mr. Westover realizes his conduct not only affects him directly, but also, the

people he loves the most and for whom he is exclusively financially responsible. Many rely on

Mr. Westover, including his six children, his wife, his extended family in the St. Louis area, and

his clients. Regardless of the sentence this Court bestows, it is Mr. Westover’s actions that have

put this emotional turmoil on him, his immediate and extended family, and his business. That

consequence alone is enough for him to be deterred from conduct that will place him and his loved

ones in a position even remotely similar again.


                                                  II.

                                         CONCLUSION

       Under 18 U.S.C § 3553(a), this Court can consider the nature and circumstances of the

offense, and the history and characteristics of Mr. Westover, when fashioning a sentence that is

sufficient, but not greater than necessary, to achieve the goals of Title 18, U.S.C § 3553(a). A non-

custodial sentence with any combination of conditions the Court finds judicious in this case will




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achieve those goals in that it reflects the seriousness of the offense, provides just punishment, will

afford adequate deterrence, and protect the public.

       Mr. Westover respectfully requests a sentence in keeping with the Recommendation of the

Final Presentence Investigation Report ECF #40. More specifically, a sentence of 12 months of

probation on Count 1.

       The Court should impose any conditions of probation deemed appropriate such as:

        1. Must not commit another federal, state, or local crime.

       2. Must not unlawfully possess a controlled substance.

       3. Must refrain from any unlawful use of a controlled substance and must submit to one

drug test within 15 days of placement on supervision and at least two periodic drug tests thereafter,

as determined by the Court.

       4. Must make restitution of $500.00 in accordance with 18 USC §§ 3663 and 3663A.

       5. Pay a special assessment of $10 in accordance with 18 USC § 3013.

       Mr. Westover would also request supervision and jurisdiction of this case to be transferred

to the United States District Court for the Eastern District of Missouri.

       WHEREFORE, for the foregoing reasons, it is respectfully requested this Honorable

Court sentence Mr. Westover to the above requested non-custodial sentence that is sufficient, but

not greater than necessary.

Dated: April 7, 2022                           Respectfully submitted,

                                               /s/ John T Davis
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                                               Attorney for Defendant Paul Westover

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of April, 2022, the foregoing was filed electronically

with the Clerk of the Court by operation of the Court’s electronic filing system and served upon

the Assistant United States Attorney.


                                                    /s/ John T Davis
                                                    John T Davis




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